Upon the trial at Hertford, on the last circuit, before his Honor, JudgeSaunders, the evidence was that some of the defendants shot a runaway slave found in the swamps of Gates County, and that the other defendants were present and encouraged the act to be done. A question arose on the trial, whether the slave which had been killed by the defendants was in fact the slave of the plaintiff. A witness was examined as to that and stated that he knew the plaintiff's slave Elias, and that he had seen him not long before in the possession of the plaintiff; that he saw the corpse of the slave that was killed the day after the killing and he believed it was Elias, but could not be positive. He was asked why? if he knew the slave. He said the negro was so much swollen that he could not swear positively, but he believed then, and still believed, it was the plaintiff's negro. The witness further testified that he lived in the neighborhood and more than two years had elapsed since the killing, yet he had not since seen or heard of the negro Elias.
His Honor charged the jury that as to the slave killed being the plaintiff's slave, that was a question of identity; that if they could confide in the belief of the witness and were satisfied as to the killing, they would find a verdict for the plaintiff. The plaintiff had a verdict and judgment and the defendants appealed. *Page 302 
(379)   On questions of identity of persons and of handwriting it is every day's practice for witnesses to swear that they believe the person to be the same, or the handwriting to be that of a particular individual, although they will not swear positively, and the degree of credit to be attached to the evidence is a question for the jury. 1 Stark. Ev., 153. The charge of the judge was correct, and the judgment must be affirmed.
PER CURIAM.                                       Judgment affirmed.
Cited: Sikes v. Paine, 32 N.C. 282.